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UNITED STATES DISTRICT COURT

District of Arizona

In the Matter of the Search of:
SUBJECT PARCEL: One medium Priority Mail

Flat Rate box with Priority Mail Label bearing

tracking number 9505 5107 2626 2262 4481 45 SEARCH WARRANT
addressed to “Billy Moore 120 Lakewood Trl Gase Number

Martinsville, VA 24112,” with a return address of 22-9349 MB

“Kemar Moore || N 33 Ave Phoenix, AZ
85009.” It is a white medium Priority Mail Flat
Rate box with a Priority Mail Label measuring 12
X 3.5 X 14.125; weighing 12.40 ozs; postmarked
September 19, 2022; and bearing $16.10 in
postage.

TO: Michael Cunha and any Authorized Officer of the United States

Affidavit having been made before me by Affiant, Michael Cunha, UNITED STATES POSTAL INSPECTOR,
on the premises known as:

SUBJECT PARCEL: One medium Priority Mail Flat Rate box with Priority Mail Label bearing tracking
number 9505 5107 2626 2262 4481 45 addressed to “Billy Moore 120 Lakewood Trl Martinsville, VA 24112,”
with a return address of “Kemar Moore 11 N 33" Ave Phoenix, AZ 85009.” It is a white medium Priority Mail
Flat Rate box with a Priority Mail Label measuring 12 X 3.5 X 14.125; weighing 12.40 ozs; postmarked
September 19, 2022; and bearing $16.10 in postage,

in the District of Arizona there is now concealed certain property, namely, CONTROLLED SUBSTANCES
AND/OR U.S. CURRENCY OR DOCUMENTS RELATING TO THE DISTRIBUTION OF CONTROLLED
SUBSTANCES THROUGH THE UNITED STATES MAIL, IN VIOLATION OF TITLE 21, UNITED
STATES CODE, SECTIONS 841 (a)(1), 843(b) and 846. AS EVIDENCE OF SAID VIOLATIONS.

I am satisfied that the Affidavit establishes probable cause to believe that the property so described is now
concealed on the premises above described and establishes grounds for the issuance of this warrant,

YOU ARE HEREBY COMMANDED to search on or before 1oi4i2022 (Date)
(not to exceed 14 days) the premises named above for the property specified, serving this warrant and making the
search in the daytime (6:00 a.m. to 10:00 p.m.), if the property be found there to seize same, leaving a copy of this
warrant and receipt for the property taken, and to prepare a written inventory of the property seized and promptly

return this warrant to any United States Magistrate Judge, District of Arizona as required by law.
9/20/2022 @3:18pm

 

at Phoenix, Arizona

 

 

Date and Time Issued City and State
HONORABLE EILEEN S. WILLETT P} Ut
UNITED STATES MAGISTRATE JUDGE

 

 

Name and Title of Judicial Officer Signature of Judicial Officer
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AO 98 (Rev. 11/13) Search and Seizure Warrant (Page 2)
: Return
Case No: Date and Time Warrant Executed: Copy of Warrant and Inventory Left With:
22-9349MB 09/22/22 @ 08:46 AM USPS

 

 

 

 

Inventory made in the presence of:

Postal Inspectors Michael Cunha and Maria Hunter

 

Inventor

y of the property taken and name of any person(s) seized:

Within Parcel 9505 5107 2626 2262 4481 45 contained the following:

bubble wrap surrounding a bundle wrapped in minnie mouse gift wrap followed by a priority small flat
rate box. Within the small flat rate box was bubble wrap, a yellow bubble mailer, and a bundie with
same (gift wrap. Within the gift wrap was a blue latex glove. Within the blue latex glove was a clear
bag with a white powder. The white powder field tested positive for cocaine and approximately

weighed 8.8 grams.

 

Certification

 

Date:

 

to the designated judge.

I declare under penalty of perjury that this inventory is correct and was returned along with the original warrant

09/22/22 Wieohask Cunha
Executing officer's signature

Michael Cunha/ U.S. Postal Inspector
Printed name and title

 

 

 

 
